









Memorandum Opinion filed December 16, 2005









Memorandum Opinion filed December 16, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-01234-CV

____________

&nbsp;

IN RE RONALD DWAYNE WHITFIELD, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On December 12, 2005, relator
filed a petition for writ of mandamus in this court.&nbsp; See Tex.
Gov=t Code Ann. ' 22.221 (Vernon 2005); see also Tex. R. App. P. 52. 

We have no jurisdiction to grant the relief requested.&nbsp; See Tex.
Gov=t
Code Ann. '
22.221 (Vernon 2005).&nbsp;
Accordingly, relator=s petition for writ of mandamus is
dismissed for want of jurisdiction. 

&nbsp;

PER CURIAM

&nbsp;

Memorandum
Opinion filed December 16, 2005.

Panel consists of
Justices Fowler, Edelman, and Guzman.





